 1   John W. Dillon (Bar No. 296788)
     Dillon Law Group APC
 2
     2647 Gateway Road
 3   Suite 105, No. 255
     Carlsbad, California 92009
 4
     Telephone: (760) 642-7150
 5   Facsimile: (760) 642-7151
     E-mail: jdillon@dillonlawgp.com
 6
 7   Attorneys for Plaintiffs
 8
                              UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
     JOSE CHAVEZ, et al.,                ) Case No.: 3:19-cv-01226-L-AHG
11                 Plaintiffs,           )
                                         ) Hon. M. James Lorenz and Magistrate Judge
12   v.                                  ) Allison H. Goddard
13   ROB BONTA, in his official          )
14   capacity as Attorney General of the ) PLAINTIFFS’ REPLY IN SUPPORT OF
     State of California, et al.,1       )
                                           NOTICE OF MOTION AND MOTION FOR
15                                       )
                                           PRELIMINARY INJUNCTION; OR
     Defendants.                         )
16                                         ALTERNATIVELY, MOTION FOR
                                         )
                                           SUMMARY JUDGMENT
17                                       )
                                         )
18                                          Action Filed: July 1, 2019
                                         )
19                                       ) First Amended Complaint Filed:
                                         ) July 30, 2019
20
                                         ) Second Amended Complaint Filed: Nov. 8,
21                                       ) 2019
                                         )
22   ____________________________ ) No oral argument will be heard pursuant to
23                                          local rules unless ordered by the Court
24
25
     1
26     Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as California
     Attorney General, and Allison Mendoza is automatically substituted for her predecessors,
27   former Directors Louis Lopez and Martin Horan, and former Acting Directors Brent E.
28   Orick and Blake Graham. Fed. R. Civ. P. 25(d).
         PLAINTIFFS’ REPLY IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION;
                                                 OR ALTERNATIVELY, MOTION FOR SUMMARY JUDGMENT
                                                                              (3:19-CV-01226-L-AHG)
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 1   I.        INTRODUCTION
 2             The Defendants have submitted voluminous declarations, plus attachments,
 3   from seven purported experts in a futile attempt to explain away the lack of any
 4   constitutionally relevant history showing a tradition of regulations that justify the
 5   State of California’s firearms restrictions that prohibit the purchase of firearms in
 6   California by peaceable people aged 18 to 20 years old (“Young Adults”). But their
 7   best efforts fail. Indeed, the Defendants have fallen far short of meeting their burden
 8   under New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.Ct. 2111 (2022).
 9             First, much of the State’s declarations either discuss irrelevant history (e.g.,
10   the declarations of Robert Spitzer, Prof. Saul Cornell, Randolph Roth, and Brennan
11   Rivas, respectively) or present interest-balancing policy arguments rejected in Bruen,
12   id. at 2129 – 2130, (e.g., the declarations of Professor John J. Donahue, Louis
13   Klarevas, and Lucy P. Allen, respectively). These declarations are immaterial and/or
14   inappropriate under Bruen and should be disregarded.
15             Second, the State concedes that Young Adults are part of the “people”
16   protected by the Second Amendment and that the “acquisition restrictions” imposed
17   through Federal Firearms Licenses (FFLs) implicate the “right to keep and bear
18   arms.” See Defendants’ Opposition (Opp.) at 8-9. Accordingly, because Young
19   Adults are part of “the people” identified in the plain text of the Second Amendment,
20   and the arms that the State has banned them from acquiring are likewise protected
21   under the text, the State bears the burden of justifying its ban. But it has not done
22   so—nor could it. Under Bruen, the analysis ends here. Id. at 2130. But even if not, the
23   State has failed to show any tradition of historical laws from any constitutionally
24   relevant period that justify the State’s ban. Indeed, according to the State’s own
25   survey, “Defendant’s Survey of Relevant Statutes Concerning Age Restrictions
26   (Founding Era – 1930s)” (Age Survey), the first age-based restriction on the
27
28                                                   1
          PLAINTIFFS’ REPLY IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION;
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 1   acquisition of any kind firearm was not enacted until 1856. See Opp. Ex. 1 at 1-64:
 2   26, 27. As such, the State’s ban fails constitutional scrutiny and must be enjoined.
 3   II.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
 4          A. The Age-Based Ban Prohibits Legal Adults From Keeping and Bearing
               Arms
 5
 6          The State wrongly asserts that Penal Code section 27510 does not prohibit any

 7   person from keeping or bearing arms. Opp. at 4-5, 9. Under California’s regulatory

 8   scheme—in which nearly all firearm transfers (both commercial and private) are

 9   required to be processed through FFLs—Defendants’ enforcement of a statute
     mandating that FFLs “shall not sell, supply, deliver, or give possession or control of a
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     firearm to any person who is under 21 years of age” necessarily cuts off the primary
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     mode of lawful firearm acquisition in the state and imposes a severe prohibition on
12
     firearm acquisition by otherwise eligible Young Adults.
13
14          And “[c]ommerce in firearms is a necessary prerequisite to keeping and
15   possessing arms for self-defense.” Jones v. Bonta, 34 F.4th 704, 715 (9th Cir. 2022).
16   The prior Panel decision, as well as several other courts, have made this explicit:
17                [W]ithout the right to obtain arms, the right to keep and
18                bear arms would be meaningless. Cf. Jackson, 746 F.3d at
                  967 (right to obtain bullets). "There comes a point . . . at
19                which the regulation of action intimately and unavoidably
20                connected with [a right] is a regulation of [the right]
                  itself." Luis v. United States, 578 U.S. 5, 136 S.Ct. 1083,
21                1097, 194 L.Ed.2d 256 (Thomas, J., concurring in the
22                judgment) (quoting Hill v. Colorado, 530 U.S. 703, 745,
                  120 S.Ct. 2480, 147 L.Ed.2d 597 (2000) (Scalia, J.,
23                dissenting)). For this reason, the right to keep and bear arms
24                includes the right to purchase them.

25   Jones v. Bonta, 34 F.4th at 716.
26          Thus, the State’s laws clearly infringe the right of Young Adults to keep
27   and bear arms under the Second Amendment’s plaint text.
28                                                2
       PLAINTIFFS’ REPLY IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION;
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 1         B. Generalized Licensing Requirements Do Not Justify the State’s Ban
 2         The State further asserts that its “licensing regime” of prohibiting legal adults
 3   from purchasing firearms is legitimate because “[l]icensing regimes based on
 4   objective and definite criterion remain valid under Bruen.” Opp. at 9. The State is flat
 5   wrong here. In Bruen, the Supreme Court said that nothing in its “analysis should be
 6   interpreted to suggest the unconstitutionality of the 43 States’ shall-issue licensing
 7   regimes, under which a general desire for self-defense is sufficient to obtain a
 8   permit.” 142 S. Ct. at 2138 n.9 (2022) (cleaned up). But the Court went on to warn
 9   that “because any permitting scheme can be put toward abusive ends, we do not rule
10   out constitutional challenges to shall-issue regimes where, for example, lengthy wait
11   times in processing license applications or exorbitant fees deny ordinary citizens their
12   right to public carry.” Id. In other words, even objective licensing regimes can be
13   unconstitutional. But in every case, however, the State’s attempt to analogize from its
14   ban on firearm purchases by legal adults to an objective licensing scheme fails. First,
15   the State is not enforcing a licensing scheme with respect to firearm purchasers.
16   Rather, it is completely prohibiting Young Adults from purchasing firearms through
17   FFLs under the statutes and Defendants’ regulations an enforcement practices. But
18   even if California’s Young Adult ban were construed as a licensing regime, as
19   previously noted, the State failed to support its law because there was no tradition of
20   licensing requirements in the constitutionally relevant periods.
21         Tilting from one windmill to another, the State also attempts to justify its ban

22   by shifting from vague references to “licensing schemes” to analogizing its firearms

23   ban to a broad “historical tradition of regulation” of the “commercial sale of

24   products.” Opp. at 10. While some states like Massachusetts may have enacted

25   regulations that controlled the way products “from boards and shingles to beef and

26   pork” were manufactured and sold, these regulations do not justify the prohibition on

27   the purchase and acquisition of firearms by legal adults. Similarly, the State calls to

28                                               3
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 1   an 1868 Alabama law that required licenses to trade in goods, including “dealers in
 2   firearms.” Opp. at 11. But that law post-dates the Civil War and does not confirm any
 3   prior history of regulation, so it is not constitutionally relevant and cannot serve as
 4   evidence to justify the State’s ban. Moreover, the law is not analogous to the State’s
 5   age-based ban here. The State further refers to broad regulations of commercial goods
 6   in the early 1800s. The Defendants’ problem is that such broad-based regulations
 7   have nothing to do with arms, nor are Plaintiffs in this case challenging federal or
 8   state requirements that gun dealers obtain licenses to manufacture and sell firearms.
 9   Indeed, the State’s reliance on such regulations ignores the Court’s directive in Bruen
10   to consider the “how and why the regulations burden a law-abiding citizen’s right to
11   armed self-defense.” Bruen, 142 S.Ct. at 2133.
12         Pivoting from one baseless ground to another, the State relies on a small
13   number of regulations requiring certain storage of gunpowder. Opp. at 11-12. Again,
14   the State’s reliance on such regulations ignores the “how and the why” in determining
15   relevantly similar regulations under Bruen, 142 S.Ct. at 2133. The purpose of these
16   early gunpowder regulations—requiring specific storage requirements (how)—was
17   fire prevention where fire-response resources were limited, and structures were nearly
18   entirely flammable (why). They were not restrictions on who could buy gunpowder,
19   they were not age-based restrictions gunpowder purchasers, and they were not
20   restrictions imposing training requirements before acquiring gunpowder. Thus, such
21   regulations, few as they were, are not relevant. Even applying the most generalized
22   review of these product regulations (which Plaintiffs contend would be inconsistent
23   with Bruen), the State’s ban cannot be justified.
24         Leaping forward in history, the State then offers “seventeen state constitutions
25   adopted during the Reconstruction era that employed ‘expansive language’ providing
26   that the right to keep and bear arm was subject to state regulation.” Opp. at 12, citing

27   Cornell Decl., at ¶¶ 11, 41, 109, and Ex. C (collecting constitutional provisions).

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 1   Again, the Reconstruction Era is not constitutionally relevant, and the state
 2   constitutions in question were enacted during a time in which many states interpreted
 3   the Second Amendment to apply only to the Militia. Neither Heller nor Bruen had
 4   trouble disposing of this errant interpretation. Bruen, 142 S.Ct. at 3127-2138; Heller,
 5   554 U.S. at 614. Even so, the first age-based restrictions cited by the State traces to
 6   1859 (Opp. at 13)—far too late to be of any utility unless to confirm a prior tradition
 7   of regulation in a relevant period, which it does not. Notably absent from the State’s
 8   brief are any regulations that prohibited the commercial sale of firearms based on age.
 9   Thus, again, the State completely fails to meet its burden here.
10         C. The State’s Ban on Semiautomatic Rifles Cannot Be Justified
11         The State’s categorical prohibition on semiautomatic centerfire rifles is also
12   unconstitutional. As with the age-based purchase ban, the State cannot show any
13   relevant historical pedigree justifying its prohibition on the acquisition of arms in
14   common use for lawful purposes by peaceable adults.

15         The State asserts that Penal Code section 27510 is part of long-established

16   tradition of states regulating the possession and use of firearms by Young Adults. See

17   Opp. at 15 (citing Decls. of Cornell, Roth, Spitzer, and Rivas). The State also relies

18   on a wrongly decided Eleventh Circuit opinion holding that “the states have never

19   been without power to regulate 18-to-20-year-olds’ access to firearms.” Nat'l Rifle

20   Ass'n v. Bondi, 61 F.4th 1317, 1332 (11th Cir. 2023). In the simplest terms, the State

21   attempts to justify it ban by claiming that “for most of U.S. history, including when

22   the Second and Fourteenth Amendments were ratified, persons younger than 21 were

23   minor or ‘infants.’” Opp. at 15. Under the State’s interpretation, because those under

24   21 had not reached the age of majority at the time of the Founding, this same age

25   group today can be stripped of their Second Amendment rights, despite having

26   reached the age of majority at 18 in California.

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 1          The State is incorrect. As other courts have observed, “the age of majority —
 2   even at the Founding — lacks meaning without reference to a particular right.”
 3   Hirschfeld v. BATFE, 5 F.4th 407, 435 (2021), see also Worth v. Harrington, 2023
 4   U.S. Dist. LEXIS 56638, at *13-22. Although the full age of majority was often 21,
 5   “that only mattered for specific activities;” for others—such as taking an oath (12),
 6   selling land (21), receiving capital punishment (14), serving as an executor or
 7   executrix (17), being married (for a woman, 12), choosing a guardian (for a woman,
 8   14)—the age of majority varied widely. Id. Essentially, 18-year-olds were considered
 9   minors for some purposes during the Founding era, and adults for others. And they
10   were specifically understood to have the full right to keep and bear arms, as reflected
11   in the Founding Era militia statutes. Moreover, the State offers no authority to
12   support the proposition that the very people who adopted the Second Amendment
13   would have used the phrase “the people” in the “normal and ordinary” sense as a
14   limitation based on the general common law age of majority. See Heller, 554 U.S. at
15   576 (“In interpreting [the Second Amendment’s] text, we are guided by the principle
16   that ‘the Constitution was written to be understood by the voters; its words and
17   phrases were used in their normal and ordinary as distinguished from their technical
18   meaning.’” (quoting United States v. Sprague, 282 U.S. 716, 731 (1931)) (cleaned
19   up).
20          D. The State’s Three Mid-Century Laws Provide No Justification for its
               Age-Based Ban
21
            Lacking any Founding Era laws to justify its ban, the State provides three state
22
     laws starting in 1856, before the Fourteenth Amendment’s ratification—Alabama
23
     (1856), Tennessee (1858), and Kentucky (1859)—that prohibited the sale of pistols or
24
     handguns to minors, which, according to the State, “burdened 18-20 year-olds’ rights
25
     to armed self-defense.” Opp. at 16-17. Defendants, and the court in Bondi, are wrong.
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 1          First, three state regulations limiting legal minors more than half a century
 2   after the Second Amendment’s ratification do not establish a historical tradition of
 3   regulation under Bruen, 142 S.Ct. at 2137–2138. Second, the State’s assertion that
 4   these three laws went further than California’s ban boarders on the absurd. Under
 5   these three historical provisions, there was no prohibition on the sale, transfer,
 6   possession, or carrying of long guns and rifles. In fact, the Tennessee statutes
 7   explicitly exempted “a gun for hunting or weapon for defence in traveling.” Opp. at
 8   16. And none of these laws prohibited legal adults from purchasing any kind of
 9   firearm. They provide no justification for the State’s ban. See Jones, 34 F.4th at 719–
10   720.
11          E. University Rules Are Not Analogous Regulations
12          The State further argues its reference to the three state statutes (Alabama,
13   Tennessee, and Kentucky) limiting minors from acquiring handguns is consistent
14   with “Founding and Reconstruction era laws prohibiting students from possessing

15   firearms on university campuses.” Opp. at 17 (citing Cornell Decl. ¶ 59-64). First, the

16   State conflates university policies with general laws. This false understanding was

17   debunked in Worth, 2023 U.S. Dist. LEXIS 56638, at *33-34. University rules of

18   conduct for students attending school on their campuses are a far cry from statewide

19   statutes and regulations enforcing a ban on the acquisition of common, protected

20   arms. Indeed, the university rules applied to students. They were not regulations of

21   members of the general public but rather exercises of in loco parentis authority that

22   schools were understood to have over their students. See Morse v. Frederick, 551

23   U.S. 393, 413 n.3 (2007). They have no relevance here. Third, the timing and scope

24   of these rules—students at three colleges in an era when higher education was

25   attended by few—is insufficient to suggest an original public understanding that

26   restrictions on the purchase and possession of protected arms by Young Adults is

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 1   consistent with the Second Amendment. Worth, 2023 U.S. Dist. LEXIS 56638, at
 2   *33-34.
 3         F. Late 19th Century Regulations That Are Inconsistent with the Second
              Amendment Text Cannot Overcome or Alter that Text
 4
           Nearly all of the state statutes cited by the State to justify its prohibition were
 5
     enacted after the Civil War, during the Reconstruction era. Specifically, according to
 6
     the State, “at least nineteen states and the District of Columbia banned the sale and
 7
     even the giving or loaning of handguns and other deadly weapons to 18-to-20-year-
 8
     olds by the close of the nineteenth century.” Opp. at 20. These 19 regulations were
 9
     enacted between 1875 and 1899. The State leans heavily on the misguided panel
10
     decision in Bondi, which relied on Reconstruction Era restrictions on selling firearms
11
     to minors to uphold an age-based restriction on firearms sales in Florida. 61 F.4th
12
     1317. However, only a few weeks after publishing its decision, the Bondi decision
13
     had already come under scrutiny in a more recent decision enjoining age restrictions
14
     on the public carry of firearms by Young Adults. See Worth, 2023 U.S. Dist. LEXIS
15
     56638, at *25-30. Specifically, in enjoining the State of Minnesota’s regulatory
16
     scheme prohibiting Young Adults from obtaining permits to carry firearms in public,
17
     the Court held:
18
           [I]n this Court’s view, Bondi declined to follow rather clear signs that
19         the Supreme Court favors 1791 as the date for determining the historical
20         snapshot of ‘the people’ whose understanding of the Second Amendment
           matters. See Bruen, 142 S. Ct. at 2137 (“And we have generally assumed
21         that the scope of the protection applicable to the Federal Government
22         and States is pegged to the public understanding of the right when the
           Bill of Rights was adopted in 1791.”). Bondi does not mention the Bruen
23         Court’s warning to “guard against giving post enactment history more
24         weight than it can rightly bear.” Bruen, 142 S. Ct. at 2136.

25   See Worth, 2023 U.S. Dist. LEXIS 56638, at *29.
           Finally, Exhibit A to the Dillon Decl., filed concurrently, is Plaintiffs’ Survey
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     Responses, which provide a point-by-point response to the State’s so-called
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      PLAINTIFFS’ REPLY IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION;
                                              OR ALTERNATIVELY, MOTION FOR SUMMARY JUDGMENT
                                                                           (3:19-CV-01226-L-AHG)
 1   analogous regulations provided in the State’s Age Survey. As shown, the State fails
 2   to provide sufficient constitutionally relevant history to justify its age-based ban.
 3         G. Militia Requirements Support the Right to Keep and Bear Arms
 4         The State and its experts provide much discussion of why, in their view, militia
 5   laws cited by Plaintiffs are not evidence that Young Adults had Second Amendment
 6   rights. Opp. at 21. Specifically, quoting the court in Bondi, “[t]he fact that federal law
 7   obliged 18-to-20-year-olds to join the militia does not mean that 18-to-20-year-olds
 8   had an absolute right to buy arms.” Id. citing Bondi, 2023 WL 2484818, at *12.
 9         But the State’s assertion, and the court in Bondi, rely on a flawed
10   understanding of Plaintiffs’ reliance on the early militia statutes. Plaintiffs (and the
11   Jones panel opinion) agree that participation in the militia did not establish or create
12   the right to keep and bear arms for anyone. See Jones, 34 F.4th at 717-719; see also
13   Worth, 2023 U.S. Dist. LEXIS 56638, at *16-20. As explained in Heller, the Second
14   Amendment “codified a preexisting right.” 554 U.S. at 592. Heller further explained

15   that the “well-regulated militia” mentioned in the Second Amendment’s text was a

16   reference to an entity “already in existence.” Id., at 596. Plaintiffs contend that the

17   militia laws, and their significance during this period, provide strong support that the

18   preexisting right to keep and bear arms included in its scope those who were in the

19   already existing militia.

20         Given that “the federally organized militia may consist of a subset of” the

21   “militia” referenced in the Second Amendment, but nevertheless must draw from that

22   larger body, the unanimous inclusion of Young Adults in organized militias at or

23   shortly after the enactment of the Second Amendment establishes that they must have

24   been within the militia referenced by the Second Amendment. See Hirschfeld, 5 F.4th

25   407, 429–30 (“Because the individual right is broader than the Second Amendment’s

26   civic purpose, those required to serve in the militia and bring arms would most

27   assuredly have been among ‘the people’ who possessed the right.”). As a result, “any

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 1   argument that 18-to-20-year-olds were not considered, at the time of the Founding, to
 2   have full rights regarding firearms” is “inconceivable.” Nat’l Rifle Ass’n of Am., Inc.
 3   v. BATFE, 714 F.3d 334, 342 (5th Cir. 2013) (Jones, J., dissent) (“NRA II”).
 4   III.   THE IRREPARABLE HARM FACTOR HAS BEEN ESTABLISHED
 5          The Jones Panel opinion already rejected the State’s three arguments for why
 6   Plaintiffs would not be irreparably injured by the deprivation of their constitutional
 7   rights. See Jones, 34 F.4th at 732-733. Moreover, Plaintiffs have shown that active
 8   members of the organizational Plaintiffs are currently prohibited from acquiring
 9   firearms due to the State’s age-based ban. See Declarations of Jose Chavez and Jason
10   Wieringa. Individual Plaintiffs Andrew Morris and Jose Chavez, as well as similar
11   Young Adult members of the Organizational Plaintiffs, are presently denied their
12   fundamental right to keep and bear arms, and none of the State’s illusory exceptions
13   provide appropriate relief. Exhibit B and C, attached to the Dillon Decl. filed
14   concurrently, are true and correct copies of the Declarations of Andrew Morris and

15   Jose Chavez. The harm to Plaintiffs has been demonstrated and is irreparable.

16   Conversely, the State sustains no harm from an injunction preventing enforcement of

17   an unconstitutional regulatory scheme. See Jones, 34 F.4th at 733 (citing Doe v.

18   Kelly, 878 F.3d 710, 718 (9th Cir. 2017)).

19   IV.    THE BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR
            PLAINTIFFS
20
            “The Second Amendment ‘is the very product of an interest balancing by the
21
     people,’ and it ‘surely elevates above all other interests the right of law-abiding,
22
     responsible citizens to use arms’ for self-defense.” Bruen, 142 S.Ct. at 2131 (citing
23
     Heller, 554 U.S. at 635). See also Worth, 2023 U.S. Dist. LEXIS 56638, at *43-44.
24
     V.     CONCLUSION
25          For all of the foregoing reasons, Plaintiffs respectfully request that this Court
26   issue an order declaring that California’s ban on the purchase of common arms by
27   Young Adults is unconstitutional and further enjoining its enforcement.
28                                                10
      PLAINTIFFS’ REPLY IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION;
                                              OR ALTERNATIVELY, MOTION FOR SUMMARY JUDGMENT
                                                                           (3:19-CV-01226-L-AHG)
 1   April 17, 2023                          Respectfully submitted,
 2                                           DILLON LAW GROUP APC
 3
                                             Attorneys for Plaintiffs
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                                             By:
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 6                                                   John W. Dillon
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